 Case 3:20-cr-01176-MSB Document 44 Filed 04/27/21 PageID.94 Page 1 of 2



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5
     Attorneys for
6    JOSE ALBERTO HIDALGO
7
                          UNITED STATES DISTRICT COURT
8
                        SOUTHERN DISTRICT OF CALIFORNIA
9
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     UNITED STATES OF AMERICA,                CASE NO.: 20-CR-1176-LAB
11
                        Plaintiff,            Hon. Larry A. Burns
12
            v.
13
     JOSE ALBERTO HIDALGO,                    Motion to Withdraw Guilty Plea
14
                        Defendant.
15
16   To:    Randy Grossman, Jr., Acting United States Attorney; and
            Blair Perez, Assistant United States Attorney:
17
18          Jose Alberto Hidalgo, by and through his counsel, Joanna Martin and Federal
19   Defenders of San Diego, Inc., hereby files this motion requesting the withdrawal of
20   his guilty plea.
21   //
22   //
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 Case 3:20-cr-01176-MSB Document 44 Filed 04/27/21 PageID.95 Page 2 of 2



1           On August 4, 2020, Mr. Hidalgo pleaded guilty to Count 1 of the Information,
2    a violation of 21 U.S.C. §§952, 960. Dkt. No. 30. On the same date, the magistrate
3    judge recommended that this Court accept the guilty plea. Dkt. No. 32.
4           Federal Rule of Criminal Procedure 11(d) provides in relevant part: “A
5    defendant may withdraw a plea of guilty or nolo contendere . . . before the court
6    accepts the plea, for any or no reason[.]” See United States v. Alvarez-Tautimez, 160 F.3d
7    573, 576 (9th Cir. 1998) (defendant “had the absolute right to withdraw his plea before
8    it was accepted by the district court”).
9           Mr. Hidalgo respectfully requests that his guilty plea be withdrawn.
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11                                              Respectfully submitted,
12
            Dated: April 27, 2021               s/ Joanna Martin
13                                              Joanna Martin
                                                Federal Defenders of San Diego, Inc.
14                                              Attorneys for Mr. Hidalgo
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            Dated: April 27, 2021               s/Blair Perez
16                                              Blair Perez
                                                Assistant United States Attorney
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                                                  2                          20-CR-1176-LAB
                             JOINT MOTION TO WITHDRAW GUILTY PLEA
